



 





THIS OPINION HAS 
  NO PRECEDENTIAL VALUE.  IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY 
  PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)2, SCARC. 
THE STATE OF SOUTH CAROLINA 
In The Supreme Court 


  
    
      
McKenzie Corey 
      Shelton, Petitioner,
v.
State of South 
      Carolina, Respondent.
      
    
  


ON WRIT OF CERTIORARI

Appeal From Laurens County 
D. Garrison Hill, Circuit Court Judge 

Memorandum Opinion No. 2012-MO-013 
Submitted April 18, 2012 - Filed May 9, 
  2012   

DISMISSED AS IMPROVIDENTLY GRANTED


  
    
      
Appellate
  Defender Robert M. Pachak, of Columbia, for Petitioner.
Attorney 
  General Alan Wilson, Chief Deputy Attorney General John W. McIntosh, Assistant 
  Deputy Attorney General  Salley W. Elliott, and Assistant Attorney General 
  Ashley McMahan, all of Columbia, for Respondent. 
       
     
   
 

PER CURIAM: After careful consideration of the
  Appendix and briefs, the writ of certiorari is 
 DISMISSED 
  AS IMPROVIDENTLY GRANTED. 
 
 PLEICONES, 
  ACTING CHIEF JUSTICE, BEATTY, KITTREDGE and HEARN, JJ., concur.  TOAL, C.J., 
  not participating. 
 
